                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LESLIE DRINKWATER                                   :
1 Friarsheel Lane                                   :
Malvern, PA 19355,                                  :       Civil Action No.
                                                    :
                      Plaintiff,                    :
                                                    :       Jury Trial Demanded
       v.                                           :
                                                    :
AGRI-FEED MAN, INC. d/b/a                           :
PICKERING VALLEY FEED & FARM                        :
305 Gordon Drive                                    :
Exton, PA 19341,                                    :
                                                    :
JAMES CRACAS                                        :
2110 7 Oaks Road                                    :
Chester Springs, PA 19425, and                      :
                                                    :
WILLIAM CRACAS                                      :
1206 Conestoga Road                                 :
Chester Springs, PA 19425,                          :
                                                    :
                      Defendants.                   :


                                         COMPLAINT

       Plaintiff, Leslie Drinkwater, by and through her attorneys, hereby files this complaint

against Defendants Agri-Feed Man, Inc. d/b/a Pickering Valley Feed & Farm (“PVFF”), James

Cracas, and William Cracas, and in support thereof, avers as follows:

I.     PRELIMINARY STATEMENT

       1.      As set forth in greater detail herein, Ms. Drinkwater was subjected to unwanted

sexual comments and innuendos, propositioned for sex for requesting a raise, fondled with

objects sold by PVFF at its store, utterly humiliated when her supervisor simulated having sex

with her from behind as she was bent over, sexually objectified in front of a customer, physically
touched and kissed against her wishes, subjected to comments regarding fanaticized sex between

her and a minor, and physically assaulted in retaliation for complaining about sexual harassment.

        2.      Ms. Drinkwater seeks declaratory, injunctive, and equitable relief; back pay, front

pay, and lost benefits; compensatory damages; costs and attorneys’ fees; and punitive damages

against PVFF, James Cracas, and William Cracas for unlawful gender discrimination, hostile

work environment sexual harassment, quid pro quo sexual harassment, retaliation, and battery in

violation of federal and state laws.

II.     JURISDICTION & VENUE

        3.      This action arises under Title VII of the Civil Rights Act of 1991, 42 U.S.C.

§2000e, et seq. (“Title VII”), the Pennsylvania Human Relations Act, 43 P.S. §955 (“PHRA”),

and the tort of battery.

        4.      Jurisdiction over the federal claim brought pursuant to Title VII is invoked

pursuant to 28 U.S.C. §1343(a) and over the state law claims pursuant to the doctrine of pendant

jurisdiction.

        5.      Jurisdiction over the federal claim is appropriate because Ms. Drinkwater timely

filed a charge of discrimination with the Equal Employment Opportunity Commission

(“EEOC”), which was cross-filed with the Pennsylvania Human Relations Commission

(“PHRC”), regarding the unlawful discrimination and retaliation to which she was subjected

while employed by PVFF.

        6.      Ms. Drinkwater received a Right to Sue Letter dated October 4, 2021 from the

EEOC.

        7.      This action properly lies in the United States District Court for the Eastern

District of Pennsylvania pursuant to 28 U.S.C. §1391(b) because PVFF’s primary place of




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business is located in this judicial district, James Cracas and William Cracas reside in this

judicial district, and/or the claims asserted herein arose within this judicial district.

III.    PARTIES

        8.      Ms. Drinkwater is an adult individual who presently resides at 1 Friarsheel Lane,

Malvern, Chester County, Pennsylvania.

        9.      PVFF is a corporation with a principal place of business at 305 Gordon Dr.,

Exton, Chester County, Pennsylvania. PVFF employs more than fifteen (15) employees and

provides retail services affecting interstate commerce.

        10.     James Cracas is an adult individual who, upon information and belief, resides at

2110 7 Oaks Road, Chester Springs, Chester County, Pennsylvania. At all times relevant hereto,

James Cracas was an owner of PVFF and the direct supervisor of Ms. Drinkwater.

        11.     William Cracas is an adult individual who, upon information and belief, resides at

1206 Conestoga Road, Chester Springs, Chester County, Pennsylvania. At all times relevant

hereto, William Cracas was an owner of PVFF.

IV.     FACTS

        12.     Ms. Drinkwater commenced employment with PVFF in April 2017.

        13.     PVFF is a retail business that sells a variety of animals, animal food and supplies,

plants, and garden supplies.

        14.     Ms. Drinkwater was subjected to sexual harassment from her supervisor and

company owner, James Cracas, after she commenced employment with PVFF.

        15.     James Cracas would make sexual innuendos regarding the manner in which Ms.

Drinkwater performed her duties, such as handling a hose to water plants, and would attempt to

initiate conversations with Ms. Drinkwater to discuss the sexual proclivities of other female staff.




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        16.    By way of example, James Cracas would make comments to Ms. Drinkwater to

the effect of whether she thought a certain lesbian employee “Preferred to be on the top or

bottom,” “Had frequent sex with her partner,” and “Do you think she is still having sex? I know

lesbians stop having sex after they are together for a bit and she has gotten fat recently, so I bet

they aren’t even having sex.”

        17.    With regard to a female employee who James Cracas deemed to be overweight,

he would make comments to Ms. Drinkwater to the effect of “You know what’s gross? That her

husband wants to rail her,” “How do think her husband can find it under all that fat?” “It must be

nasty to have sex with her,” and “She was attractive when I hired her but now, she’s sloppy and

fat.”

        18.    Each time, Ms. Drinkwater would walk away in an attempt to remove herself

from the situation or to otherwise engage in discussion concerning store-related business to

deflect any further, unwanted sexually based comments regarding PVFF’s female staff.

        19.    In 2018, Ms. Drinkwater left PVFF to take a job at Terrain, a retail business that

sells garden and home supplies.

        20.    At the time Ms. Drinkwater left PVFF, she was making approximately $15 per

hour, while the job at Terrain offered her an annual salary of approximately $50,000.

        21.    Within months after Ms. Drinkwater left PVFF, James Cracas approached her and

requested that she return to work at PVFF.

        22.    To lure Ms. Drinkwater back, PVFF offered to match her salary, provide

performance-based bonuses, allow unlimited unpaid vacation, pay her commissions based upon

online sales, and pay for all of her medical benefits.




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       23.     Ms. Drinkwater had reservations about returning to PVFF given James Cracas’

prior conduct but was agreeable based on his representations that PVFF was seeking to add a

new location, which she would manage.

       24.     Upon PVFF’s expansion, Ms. Drinkwater would be at a separate location and

have less interaction with James Cracas.

       25.     Ms. Drinkwater returned in May 2019 to work for PVFF. PVFF, however, did

not add a new location as previously represented.

       26.     Within months James Cracas began subjecting Ms. Drinkwater to gender

discrimination and sexual harassment again, however, with much more pervasiveness and

severity than before. The gender discrimination and sexual harassment to which Ms. Drinkwater

was subjected continued until her termination of employment.

       27.     By way of example, when Ms. Drinkwater was handling sacks of PVFF product,

James Cracas would make comments, in reference to her breasts, to the effect that “Those look

heavy, would you like me to carry them for you,” and that Ms. Drinkwater “Had a large rack.”

       28.     Regarding the physical appearance of other female staff members, James Cracas

would also make similar-type comments to Ms. Drinkwater, such as “You have the perfect

amount of ass and boobs, but she is all rack and no ass, and you have to balance both,” and “Her

ass is great, but her boobs haven’t been the same since she had a kid.”

       29.     When Ms. Drinkwater would handle certain dog toys, which James Cracas

ostensibly likened to an erect penis, he made comments to the effect “Can you deep throat that?”

“How far down before you gag?” “Do you think you can take all of this?” and other similar

comments suggesting that Ms. Drinkwater perform simulated oral sex on the toy.




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        30.      Still referencing the dog toys, James Cracas would make comments to Ms.

Drinkwater to the effect “Do you think this one would be better up the butt?” “Do you think this

looks like the dildo she uses on her girlfriend?” and “Look, this is ribbed for your pleasure.”

        31.      When Ms. Drinkwater would handle products made of wood, James Cracas would

make comments to the effect “You like touching wood, don’t you?” “You look really good with

wood in your hands,” and “Is that wood hard enough? I know some wood that might get harder.”

        32.      As before, when Ms. Drinkwater was watering plants sold by PVFF, James

Cracas would approach Ms. Drinkwater and make comments to the effect of “Look at how wet

you are handling that hose, I know another hose that would make you wet,” “I love the way you

handle that big hose,” and “Look at how dirty you are playing with big black hoses.”

        33.      James Cracas’ actions were unwelcomed, and in each instance, Ms. Drinkwater

would either ask James Cracas to stop, try to change the conversation, or simply walk away to

remove herself from James Cracas’ presence.

        34.      On occasion, Ms. Drinkwater approached James Cracas and asked that PVFF give

raises to the staff.

        35.      In response to one such request, James Cracas pushed the chair in which he was

sitting backwards, patting his upper thigh/ groin area, and said “I’ll give you a raise if you give

me a raise.”

        36.      James Cracas’ comment was an offer to provide Ms. Drinkwater with an

employment benefit in the form of a raise if she performed a sexual favor for him in return. Ms.

Drinkwater turned and walked away in disgust.




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        37.     James Cracas would make similar type comments to the effect “I’ll give you a

raise if you give me a raise,” and that he too “Needed a raise” whenever Ms. Drinkwater

broached the subject of staff raises.

        38.     Ms. Drinkwater does not currently have any children; however, she and her

husband have been attempting to conceive, a fact to which James Cracas was aware.

        39.     Knowing that Ms. Drinkwater and her husband were having difficulty conceiving,

James Cracas would make comments to Ms. Drinkwater to the effect of “You know I could get

you pregnant real fast,” “Are you sure you know what hole to put it in?” “You know, you don’t

get pregnant from annal,” and “You know if Nik can’t do the job, I have already proven myself

twice,” in reference to his two children.

        40.     The aforementioned examples of the verbal comments, jokes, solicitations, and

innuendos were pervasive, severe and unwanted.

        41.     The hostile work environment created by James Cracas, however, also included

him inappropriately touching Ms. Drinkwater.

        42.     James Cracas took phallic-shaped dog toys and poked Ms. Drinkwater in her

breasts or on her backside with the item when he passed her in a store isle.

        43.     On the first occasion, Ms. Drinkwater quite clearly told James Cracas not to touch

her.

        44.     Despite an initial apology and assurance from James Cracas that it would not

occur again, he did in fact use a dog toy to inappropriately touch Ms. Drinkwater, presumably for

self-sexual gratification.

        45.     James Cracas’ harassment did not end with him touching Ms. Drinkwater’s

breasts and backside vis-à-vis a dog toy.




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         46.   James Cracas took opportunities to degrade and sexually objectify Ms.

Drinkwater in front of PVFF’s customers and/or vendors.

         47.   On one occasion while Ms. Drinkwater was bending over removing an item from

PVFF’s freezer, James Cracas stood back and stared at Ms. Drinkwater’s backside.

         48.   After Ms. Drinkwater stood up, James Cracas made a comment to a customer to

the effect “If you think she looks good now, you should have seen her bending under the

freezer,” while at the same time putting his arm around Ms. Drinkwater’s shoulders to pull her

next to him so that the customer could look at Ms. Drinkwater.

         49.   Such actions mirrored statements that James Cracas made to Ms. Drinkwater to

the effect that “I only hire beautiful women because no one wants to buy anything from a fat

slob.”

         50.   On one day, Ms. Drinkwater was assisting a fellow female employee with

computer problems.

         51.   In doing so, Ms. Drinkwater was bending over to plug in wires when James

Cracas approached her from behind and simulated having sex with her.

         52.   In total shock, Ms. Drinkwater immediately turned around and ran to the

bathroom crying.

         53.   On the same day, Ms. Drinkwater left PVFF feeling sick to her stomach after

being utterly humiliated in the office. She did not return to work for nearly two weeks.

         54.   When Ms. Drinkwater returned, she again told James Cracas that she wants to do

her job without being sexually harassed, stating “I want to come to work to work, that’s it.”

         55.   Ms. Drinkwater told James Cracas that she needed to work and did not want him

to touch her ever again, otherwise she would quit.




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       56.     James Cracas was aware that Ms. Drinkwater needed to work and continue

receiving her salary because she and her husband had incurred significant housing expenses

immediately before the COVID-19 pandemic and her husband did not have gainful employment

after the outset of the pandemic.

       57.     Given the uncertainties of available, well-paying employment positions during the

pandemic, coupled with Ms. Drinkwater being considered an essential worker by the

government, she needed to continue working in order to support her family.

       58.     In response to Ms. Drinkwater’s demand that she be permitted to work without

being touched or otherwise sexually harassed, James Cracas told Ms. Drinkwater to go into the

hallway with him.

       59.     When Ms. Drinkwater responded that she did not feel comfortable being in the

hallway alone with him, James Cracas yelled at her and told her to “Get into the hallway!”

       60.     After entering the hallway, James Cracas apologized and said, “I crossed the

line,” in reference to simulating sex with her from behind without her knowledge or consent.

       61.     James Cracas also told Ms. Drinkwater that she should not have told him to stop

touching and harassing her in front of others, saying “I can’t afford a divorce.”

       62.     James Cracas again promised to stop subjecting Ms. Drinkwater to sexual

harassment.

       63.     Despite James Cracas’ assurances to cease sexually harassing Ms. Drinkwater, he

failed to abate his offending conduct for long.

       64.     On one occasion, Ms. Drinkwater approached James Cracas to discuss a newly

hired employee who impressed her through her performance, intelligence and strong work ethic.

The employee was a seventeen (17) year-old girl.




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       65.     During the conversation, Ms. Drinkwater told James Cracas that “She loved her

and wanted to hire more kids like her” to work at PVFF.

       66.     In response, James Cracas made comments to the effect “How much do you love

her?” and “I would love to see the two of you together.”

       67.     Ms. Drinkwater became enraged and said “No Jim. No!”

       68.     Ms. Drinkwater was angry not merely because of James Cracas’ continued sexual

harassment, but because his conveyed sexual fantasies to Ms. Drinkwater now involved a minor.

       69.     James Cracas also reverted to inappropriately touching Ms. Drinkwater without

her consent.

       70.     On August 18, 2021, Ms. Drinkwater arrived at work in preparation for a meeting

with a consultant for whom she had great respect and admiration.

       71.     Soon after Ms. Drinkwater entered PVFF’s facilities, James Cracas approached

her, aggressively grabbed both sides of her neck and face, forced her head down, and kissed her

on the forehead.

       72.     Ms. Drinkwater immediately ran away from James Cracas and began crying.

       73.     Ms. Drinkwater went to a back room in PVFF’s facility where she was consoled

by a fellow employee.

       74.     Despite clearly evidencing that she wanted to remove herself from James Cracas’

presence, James Cracas followed Ms. Drinkwater to the back room.

       75.     When James Cracas saw Ms. Drinkwater, he said “I’m sorry. I didn’t mean to

Cuomo you,” in reference to ex-Governor of New York Andrew Cuomo.




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        76.     James Cracas then went into a rant about how ex-Governor Cuomo did not do

anything wrong, that his actions were misunderstood, and that the entire ordeal was merely

political in nature.

        77.     James Cracas abruptly left, at which time Ms. Drinkwater broke into tears because

of the grave emotional distress caused by James Cracas’ continued sexual harassment.

        78.     After being grabbed and kissed by James Cracas, Ms. Drinkwater tried to pull

herself together for the meeting with PVFF’s consultant, which was to occur within

approximately twenty minutes.

        79.     William Cracas was also at PVFF’s facility for the meeting. William Cracas is

James Cracas’ father and also an owner of PVFF.

        80.     In general, Ms. Drinkwater had a good relationship with William Cracas;

however, she was concerned that he had been getting frustrated with her because she was

complaining more vocally for James Cracas to stop sexually harassing her.

        81.     William Cracas was present when Ms. Drinkwater told James Cracas to stop

touching her after he forcibly kissed her, was outside of the room when James Cracas

“apologized” to Ms. Drinkwater, and Ms. Drinkwater walked directly past him while crying on

the way to the restroom to make herself more presentable for the meeting.

        82.     While in the bathroom, Ms. Drinkwater washed her head twice and even wiped

the area where James Cracas kissed her with a Clorox wipe. She also reapplied her make-up in

an effort to conceal that she had been crying just minutes earlier.

        83.     Ms. Drinkwater entered the meeting room and sat down at a table with James

Cracas, his son, and PVFF’s consultant. William Cracas had not yet entered the room.




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       84.       In preparation for the start of the meeting, Ms. Drinkwater began looking for

blueprint drawings of a previous store design.

       85.       When Ms. Drinkwater asked if anyone had seen them, William Cracas entered the

room from behind Ms. Drinkwater, and while saying “Here’s your blueprint,” he intentionally

slammed the tightly compressed, folded stack of the blueprints down with great force directly on

the top of Ms. Drinkwater’s head.

       86.       William Cracas had never struck Ms. Drinkwater previously.

       87.       William Cracas intentionally and purposefully struck Ms. Drinkwater in

retaliation for her complaining about being sexually harassed by James Cracas, the most recent

of which occurred less than an hour early on the same day.

       88.       The fact that William Cracas, an owner of PVFF, subjected Ms. Drinkwater to

retaliation in the form of physical harm is egregious and evidences a wanton disregard for the

health and safety of Ms. Drinkwater.

       89.       Throughout the meeting, Ms. Drinkwater was in severe pain and had difficulty

concentrating.

       90.       Ms. Drinkwater began to more fully experience the severity of her injury after the

meeting ended when she began having difficulty lifting objects as little as ten pounds and

working on menial tasks.

       91.       Ms. Drinkwater went to the Emergency Room after her shift and was diagnosed

with a concussion and neck injury showing straightening of the neck.

       92.       Since such time, Ms. Drinkwater has been engaged in concussion and physical

therapy, which requires multiple sessions per week in an attempt to alleviate or otherwise lessen

the effects of the aforementioned actions that occurred on August 18, 2021.




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       93.     Unfortunately, Ms. Drinkwater continues to have difficulty concentrating, suffers

from vertigo, has limited ability of movement, is unable to balance herself, has diminished

sensation on portions of her body, has difficulty seeing or otherwise focusing on objects, and has

experienced other physical ailments typical of the concussion and neck injury she experienced

resulting from the aforementioned actions on August 18, 2021.

       94.     Ms. Drinkwater remains unable to work and Defendants’ actions constitute a

constructive termination of employment from PVFF.

       95.     As a direct and proximate result of Defendants’ aforementioned unlawful actions,

including those that occurred prior to August 18, 2021, Ms. Drinkwater has suffered, and

continues to suffer, loss of wages and benefits, loss of future wages and benefits, significant

emotional distress, anxiety, anguish, and loss of life’s pleasures.

       96.     The pervasive and severe hostile work environment, quid pro quo sexual

harassment, gender discrimination, and retaliation is particularly outrageous and egregious,

thereby justifying an award of punitive damages against Defendants for the palpable disregard of

Ms. Drinkwater’s well-being and what she has been forced to endure while employed at PVFF.

       97.     During Ms. Drinkwater’s employment, PVFF did not have policies precluding

sexual harassment in the workplace and there was no Human Resources Manager or any other

individual designated to receive complaints of harassment.

       98.     James Cracas often “bragged” to Ms. Drinkwater and other employees that he

considered Ms. Drinkwater the Human Resources Manager and made comments to the effect

“She would have only herself to complain about me,” and “She can’t complain to anyone else

when I harass her.”




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V.      CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                                        Plaintiff v. PVFF
                          Violation of Title VII, 42 U.S.C. §2000, et seq

        99.     Ms. Drinkwater incorporates by reference the averments set forth in Paragraphs 1

through 98 as if set forth at length herein.

        100.    PVFF unlawfully discriminated against Ms. Drinkwater on the basis of her

gender/sex in the terms and conditions of her employment, allowed a hostile work environment

to persist that fostered severe and pervasive sexual harassment, subjected her to quid pro quo

sexual harassment, and retaliated against her for complaining about sexual discrimination and

harassment, all of which are in violation of Title VII.

        101.    As a direct and proximate result of PVFF’s violation of Title VII, Ms. Drinkwater

has suffered, and continues to suffer, great harm in the form of, past and future pecuniary losses,

emotional pain and suffering, loss of enjoyment of life, and other damages recoverable under

Title VII.

                                SECOND CAUSE OF ACTION
                                        Plaintiff v. PVFF
                               Violation of the PHRA, 43 P.S. §955

        102.    Ms. Drinkwater incorporates by reference the averments contained in Paragraphs

1 through 101, as if set forth fully herein.

        103.    PVFF unlawfully discriminated against Ms. Drinkwater on the basis of her

gender/sex in the terms and conditions of her employment, allowed a hostile work environment

to persist that fostered severe and pervasive sexual harassment, subjected her to quid pro quo

sexual harassment, and retaliated against her for complaining about sexual discrimination and

harassment, all of which are in violation of the PHRA.




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        104.    As a direct and proximate result of PVFF’s violation of the PHRA, Ms.

Drinkwater has suffered, and continues to suffer, great harm in the form of, past and future

pecuniary losses, emotional pain and suffering, loss of enjoyment of life, and other damages

recoverable under the PHRA.

                                  THIRD CAUSE OF ACTION
                          Plaintiff v. James Cracas and William Cracas
                               Violation of the PHRA, 43 P.S. §955

        105.    Ms. Drinkwater incorporates by reference the averments contained in Paragraphs

1 through 104, as if set forth fully herein.

        106.    At all relevant times hereto, James Cracas and William Cracas were the owners of

PVFF.

        107.    At all relevant times hereto, James Cracas was Ms. Drinkwater’s direct

supervisor.

        108.    James Cracas and William Cracas engaged in an unlawful discriminatory practice

in violation of Section 955(e) of the PHRA by aiding, abetting, inciting, compelling and/or

coercing the aforementioned discrimination, sexual harassment, and retaliation to which Ms.

Drinkwater was subjected.

        109.    As a direct and proximate result of James Cracas’ and William Cracas’ “aider and

abettor liability” in violation of Section 955(e) of the PHRA, Ms. Drinkwater has suffered, and

continues to suffer, great harm in the form of, past and future pecuniary losses, emotional pain

and suffering, loss of enjoyment of life, and other damages recoverable under the PHRA.




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                                 FOURTH CAUSE OF ACTION
                                   Plaintiff v. William Cracas
                                              Battery

        110.    Ms. Drinkwater incorporates by reference the averments contained in Paragraphs

1 through 109, as if set forth fully herein.

        111.    William Cracas committed battery when he, without Ms. Drinkwater’s consent,

made harmful and/or offensive contact with Ms. Drinkwater by intentionally slamming the

tightly compressed, folded stack of the blueprints down with great force directly on top of her

head, thereby causing her to suffer a neck injury and concussion.

        112.    As a direct and proximate result of the battery committed by William Cracas, Ms.

Drinkwater has suffered, and continues to suffer, great harm in the form of, past and future

pecuniary losses, emotional pain and suffering, loss of enjoyment of life, and other damages

recoverable under the Pennsylvania tort of battery.

VI.     JURY DEMAND

        113.    Ms. Drinkwater demands trial by jury on all claims and issues triable by a jury.

VII.    PRAYER FOR RELIEF

        WHEREFORE, Ms. Drinkwater respectfully requests that this Honorable Court:

                (a)     declare Defendants’ conduct to be in violation of Ms. Drinkwater’s rights;

                (b)     enjoin Defendants from engaging in such unlawful conduct in the future;

                (c)     award Ms. Drinkwater relief of back pay, front pay, and lost benefits;

                (d)     award Ms. Drinkwater damages to which she is entitled for past and future

pecuniary losses, emotional pain and suffering, inconvenience, loss of enjoyment of life, and any

other compensatory damages;

                (e)     award Ms. Drinkwater punitive damages to which she proves entitled;




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             (f)   award Ms. Drinkwater her attorneys’ fees and costs incurred; and

             (g)   grant such other relief as it may deem just and proper.

                                         Respectfully submitted,

                                         UNRUH, TURNER, BURKE & FREES


Dated: November 17, 2021                 By:       s/ Brian D. Boreman
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